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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


MICHAEL C. TRIMARCO                    )
                                       )
      Plaintiff,                       )
                                       )
v.                                     ) Case No. 1:20-cv-01408-RGA
                                       )
                                       )
MICHAEL T. FARLEY, et al.,             )
                                       )
      Defendants.                      )
                                       )


                   PLAINTIFF’S REPLY IN SUPPORT
               OF MOTION FOR ADMISSION PRO HAC VICE

      Plaintiff, Michael C. Trimarco, by counsel, respectfully submits this Reply

in support of his motion for admission pro hac vice of Steven S. Biss, Esquire, and

in response to the opposition and reply memorandum [D.I. Nos. 27, 29] filed by

Defendant, Michael T. Farley (“Farley”).

      1.     Plaintiff and Delaware counsel firmly support the motion for

admission pro hac vice of Mr. Biss. Mr. Biss is a highly skilled and experienced

litigator. He is accompanied in this case by experienced Delaware counsel. He

submits to the disciplinary jurisdiction of this Court for any alleged misconduct

which occurs in the preparation or course of this action.




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      2.     Plaintiff and Delaware counsel do not wish to engage Mr. Farley or to

add unnecessarily to the matter, but there are a few statements in Mr. Farley’s

opposition to Plaintiff’s PHV motion [D.I. No 27] and Mr. Farley’s reply to

Plaintiff’s opposition to motion to disqualify [D.I. No. 29] that must be addressed:

      First, the Agnew case does not depict “hallmarks of Steven Biss litigation”.

The Agnews in good faith and for the sake of brevity submitted a partially redacted

transcript to address one of the many issues before the Court in this 17+ year

litigation of a confessed judgment. The District Court found that the redactions

“appear[ed]” to be intentionally misleading and designed to delay. They were not.

The Agnews appealed, and the Fourth Circuit upheld the District Court’s decision.

Mr. Biss was not sanctioned.

      Second, the Feingold matter involved a completely fabricated claim by a

Florida lawyer against Mr. Biss in 2006. None of Mr. Feingold’s or Mr. Zausner’s

statements was true. Mr. Biss filed a motion to dismiss pursuant to Rules 12(b)(2)

and 12(b)(6). A copy of that verified motion is attached hereto as Exhibit “A”.

Mr. Feingold filed a motion to remand the case to State Court. After the case was

remanded, Mr. Feingold dropped the case.

      Third, in 2009 and 2010, Mr. Biss accepted full responsibility for his actions

and the Virginia State Bar imposed agreed discipline. The discipline is a matter of

public record. For the past eleven (11) years, Mr. Biss’ license has been active and


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in good standing in all jurisdictions.      He has been admitted pro hac vice in

numerous Federal and State Courts and has appeared in hundreds of cases,

successfully representing the interests of his clients.

      Fourth, the Bar complaint filed by United Leasing Corporation, alleging a

conflict of interest, was disputed. There was no finding of “conflict of interest in

two separate cases, and then against by the Virginia State Bar”. After the trial

court denied a motion to disqualify filed by United Leasing, Mr. Biss appeared as

counsel in the Richmond Circuit Court in October 2008, tried the case to verdict,

and obtained a $1,100,000 judgment for his client against United Leasing, which

was affirmed by the Virginia Supreme Court.

      Fifth, in the Nunes v. Twitter case, Twitter was only one of the “primary

target[s]”. After the Court denied Twitter’s first motion to dismiss, Twitter filed a

motion alleging that it was immune from suit under § 230 of the Communications

Decency Act, 47 U.S.C. § 230. The trial court granted Twitter’s motion over the

plaintiff’s objection. The trial court’s order is not final. The case remains pending

as to three defendants.

      Sixth, Mr. Biss did not contravene the February 27, 2020 Order entered by

the Court in Lokhova v. Halper. Rather, Mr. Biss’ client, Svetlana Lokhova, filed

a separate lawsuit against Stefan Halper relating to separate tortious conduct by

Halper in 2020. Mr. Biss obtained and filed a waiver of service of summons on


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March 9, 2021. Mr. Biss did not file any frivolous post-judgment litigation against

the defendants in the original case. The separate, second case against is pending.

The statement by Delaware counsel in Document 28, footnote 3 is 100% accurate.

      Seventh, the motion for sanctions recently filed in the Indeco action by

counsel for the defendant is meritless. Mr. Biss acted within his full rights in

protecting the rights and interests of both Indeco and the Indeco trustee in filing a

notice of voluntary dismissal without prejudice. The Indeco trustee has filed no

objection to Mr. Biss’ notice, and recently made clear that the dismissal without

prejudice preserved the trustee’s ability to re-file an action for defamation if the

trustee determined that that was in the best interests of the estate.

      Eighth, Mr. Biss did not file the defamation case in Jefferson County, West

Virginia “without first seeking admission to that jurisdiction”. Mr. Biss expects to

be admitted pro hac vice in the Jefferson County defamation case. Mr. Biss was

admitted pro hac vice in a case in Berkeley County, Matador v. Levine. A copy of

that Order is attached hereto as Exhibit “B”. Mr. Biss is not the subject of any

motion for sanctions in any case in West Virginia.

                                   CONCLUSION

      The statements made by Mr. Farley in his pleadings are unnecessary,

impertinent and scandalous. They should be struck pursuant to Rule 12(g).




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      Plaintiff has an interest in being represented by his counsel of choice. See

E.I. du Pont de Nemours & Co. v. Allstate Ins. Co., 2008 WL 525908, at * 1 (Del.

Super. Feb. 20, 2008) (“While the Court is mindful that Sonnenschein’s experience

in representing Travelers may give Stonewall, through Sonnenschein, an insight

into DuPont settlement strategies or the like which Stonewall would not otherwise

enjoy, the Court is not persuaded that these circumstances outweigh Stonewall’s

interest in being represented by counsel of its choice”).

      For the foregoing reasons, Plaintiff respectfully requests the Court to grant

Plaintiff’s motion for the admission of Mr. Biss pro hac vice.

DATED:       March 15, 2021

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                                 Counsel for the Plaintiff


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